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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

  IN RE: JOHNSON & JOHNSON TALCUM                   )
  POWDER PRODUCTS MARKETING, SALES                  ) MDL No. 2738 (FLW) (LHG)
  PRACTICES, AND PRODUCTS LIABILITY                 )
  LITIGATION                                        )

  This document relates to:                         )
  CLYDE LAGRONE, et al.,                            )
                                                    )
        Plaintiffs,                                 )
                                                    ) Civil Case No.: 3:17-cv-02398-FLW-LHG
  vs.                                               )
                                                    )
  JOHNSON & JOHNSON, et al.,                        )
                                                    )
         Defendants.                                )
         [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO REMAND

         THE COURT, having considered Plaintiffs’ papers in support of remand and any

  opposition thereto, and having considered the arguments of counsel, hereby GRANTS Plaintiffs’

  Motion to Remand.



  SO ORDERED.



  _________________                                 _________________________________
  Date                                              Hon. Freda L. Wolfson
